Case 1:21-cv-00353-JMS-DLP Document 1-1 Filed 02/12/21 Page 1 of 49 PageID #: 6




                       EXHIBIT A
Case 1:21-cv-00353-JMS-DLP Document 1-1 Filed 02/12/21 Page 2 of 49 PageID #: 7




                     EXHIBIT A TO NOTICE OF REMOVAL

                            STATE COURT RECORD

  NO.      DATE                   DESCRIPTION                                FILED BY
   1.    12/17/20    Verified Complaint                                      Plaintiffs
   2.    12/17/20    Attorneys’ Appearance for David Williams                Plaintiffs
   3.    12/17/20    Summons for Elijah Bland                                Plaintiffs
   4.    12/17/20    Summons for EBX Enterprises, LLC                        Plaintiffs
   5.    12/18/20    Commercial Court Identifying Notice                     Plaintiffs
   6.    01/29/21    Attorneys’ Appearance for Eric J. McKeown               Defendants
   7.    02/01/21    Notice of Automatic Enlargement of Time to Respond to   Defendants
                     Plaintiffs’ Complaint
2/11/2021   Case 1:21-cv-00353-JMS-DLP Document 1-1  Filed
                                                 Summary     02/12/21 Page 3 of 49 PageID #: 8
                                                         - MyCase

               This is not the of icial court record. Of icial records of court proceedings may only be obtained directly from
               the court maintaining a particular record.


   David L Williams, JR v. Elijah W Bland
    Case Number                                49D06-2012-PL-044484

    Court                                      Marion Superior Court 6
                                               Commercial Court (Provisional)

    Type                                       PL - Civil Plenary

    Filed                                      12/17/2020

    Status                                     12/17/2020 , Pending (active)


   Parties to the Case
   Defendant Bland, Elijah W
       Address
       45 West 132nd Street
       Apt 15N
       New York, NY 10037
       Attorney
       Eric John McKeown
       #2759749, Retained

       Ice Miller LLP
       One American Square Ste 2900
       Indianapolis, IN 46282-0200
       317-236-2142(W)

   Plainti      Williams Jr., David L
       Address
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       Indianapolis, IN 46254
       Attorney
       Jason D. May
       #2743449, Lead, Retained

       9201 N Meridian ST
       STE 220
       Indianapolis, IN 46260
       317-218-3859(W)

       Attorney
       Edward De Von Thomas
       #2908049, Retained

       THOMAS LAW, LLC
       55 Monument Circle
       Suite 700
       Indianapolis, IN 46204
       317-762-9732(W)


   Chronological Case Summary

https://public.courts.in.gov/mycase/#/vw/CaseSummary/eyJ2Ijp7IkNhc2VUb2tlbiI6IlhtWTgyMHRiLTFMcnkxc3BwOWFaVzNfOGZlNWpyMTNCY3R0M…   1/3
2/11/2021   Case 1:21-cv-00353-JMS-DLP Document 1-1  Filed
                                                 Summary     02/12/21 Page 4 of 49 PageID #: 9
                                                         - MyCase

    12/17/2020 Case Opened as a New Filing


    12/18/2020       Complaint/Equivalent Pleading Filed
                     Veri ed Complaint - Williams v EBX - signed.pdf
                     Exhibit A.pdf
                     Exhibit B.pdf
                     Exhibit C.pdf
                     Exhibit D.pdf
                     Exhibit E.pdf
                 Veri ed Complaint against Elijah Bland and EBX Enterprises, LLC

                 Filed By:                      Williams, David L JR
                 File Stamp:                    12/17/2020

    12/18/2020       Appearance Filed
                 Attorneys' Appearance for David Williams

                 For Party:                     Williams, David L JR
                 File Stamp:                    12/17/2020

    12/18/2020       Subpoena/Summons Filed
                 Summons - Elijah Bland

                 Filed By:                      Williams, David L JR
                 File Stamp:                    12/17/2020

    12/18/2020       Subpoena/Summons Filed
                 Summons - EBX Enterprises, LLC

                 Filed By:                      Williams, David L JR
                 File Stamp:                    12/17/2020

    12/21/2020       Commercial Court Identifying Notice
                 Notice Identifying Commercial Court Docket

                 Filed By:                      Williams, David L JR
                 File Stamp:                    12/18/2020

    01/29/2021       Appearance Filed
                 Appearance of Eric J. McKeown for Defendants

                 For Party:                     Bland, Elijah W
                 For Party:                     EBX Enterprises, LLC
                 File Stamp:                    01/29/2021

    02/01/2021       Motion for Enlargement of Time Filed
                 Notice of Automatic Enlargement of Time to Respond to Plainti 's Complaint

                 Filed By:                      Bland, Elijah W
                 Filed By:                      EBX Enterprises, LLC
                 File Stamp:                    02/01/2021


   Financial Information
   * Financial Balances re ected are current representations of transactions processed by the Clerk’s O ce. Please note that any
     balance due does not re ect interest that has accrued – if applicable – since the last payment. For questions/concerns regarding
     balances shown, please contact the Clerk’s O ce.




https://public.courts.in.gov/mycase/#/vw/CaseSummary/eyJ2Ijp7IkNhc2VUb2tlbiI6IlhtWTgyMHRiLTFMcnkxc3BwOWFaVzNfOGZlNWpyMTNCY3R0M…         2/3
2/11/2021 Case     1:21-cv-00353-JMS-DLP Document 1-1  Filed
                                                    Summary    02/12/21 Page 5 of 49 PageID #: 10
                                                            - MyCase

   Williams Jr., David L
   Plainti

   Balance Due (as of 02/11/2021)
   0.00

   Charge Summary
    Description                                                                 Amount              Credit              Payment
    Court Costs and Filing Fees                                                 157.00              0.00                157.00

   Transaction Summary
    Date                  Description                                           Amount
    12/18/2020            Transaction Assessment                                157.00
    12/18/2020            Electronic Payment                                    (157.00)



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                  the court maintaining a particular record.




https://public.courts.in.gov/mycase/#/vw/CaseSummary/eyJ2Ijp7IkNhc2VUb2tlbiI6IlhtWTgyMHRiLTFMcnkxc3BwOWFaVzNfOGZlNWpyMTNCY3R0M…     3/3
Case 1:21-cv-00353-JMS-DLP Document
                            49D06-2011-1  Filed 02/12/21 Page 6 of 49 PageID
                                      2-P|_-044484                            #: 11
                                                                          Filed: 12/1 7/2020 6:52 PM
                                                                                                                                               Clerk
                                              Marion Superior Court,   Civil Division             6                           Marion County, Indiana




 STATE OF INDIANA                       )                              IN   THE MARION SUPERIOR COURT
                                        )SS:
 COUNTY OF MARION                       )                              CAUSE NO.

 DAVID L. WILLIAMS, JR., derivatively on
 behalf OCEAN’S PROMISE, INC.


                      Plaintiff,


          V.
                                                                                 vvvvvvvvvvvv




 EBX ENTERPRISES, LLC,                and
 ELIJAH W. BLAND


                      Defendants.



                      VERIFIED SHAREHOLDER COMPLAINT FOR DAMAGES


          Comes now         the Plaintiff,    David    L. Williams,      Jr.   (“Williams” 0r “Plaintiff”), by counsel,


 brings this Veriﬁed Shareholder Derivative Complaint against Defendants, in the                                    name 0f and 0n

 behalf 0f Ocean’s Promise, Inc. (“Ocean’s Promise” 0r the "Company")(collectively, “Williams”


 and “Ocean’s Promise” are referred                   to   as “Plaintiffs”),                    and against certain ofﬁcers and/or

 shareholders 0f Ocean’s Promise              named herein.

                                            SUMMARY OF THE ACTION

     1.   This   is   a shareholder derivative action brought by an Ocean’s Promise shareholder 0n


 behalf of the Company, and against the only other ofﬁcer and shareholder, seeking remedy for


 Defendants      EBX     Enterprises,       LLC (“EBX”)       and Elijah W. Bland’s (“Bland”)(collectively “the

 Defendants”) breaches 0f ﬁduciary duty, self—dealing and conversion.


     2.   In particular, Ocean’s Promise’s corporate ofﬁcers, Williams                                     and Bland approved the

 dissolution 0f the       Company 0n         or about August 31, 2020.                          Since that time, Bland has failed t0


 cooperate With Williams in satisfying the parties’                         obligatons under the Indiana Business


                                                                1
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 Corporation Act, including winding                down the Company          as required     under law. Moreover, Bland


 and   EBX      (an entity solely           owned and   controlled    by Bland) have      since breached their ﬁduciary


 duties,     engaged   in self—dealing,        and converted certain assets of the Company, including proﬁting

 from the Ocean’s Promise trademark,                   t0 the detriment    0f the   Company and Williams.

       3.    Plaintiff brings this action t0 recoup the proﬁts derived                  by   the Defendants unauthorized


 use 0f the Ocean’s Promise trademark since the date 0f the Company’s formal dissolution on or


 about August 3 1, 2020, and t0 require the Defendants t0 cooperate in formally winding                             down the

 Company        as required        under Indiana law.


                                                 JURISDICTION AND VENUE

       4.    This Court has jurisdiction t0 preside over the Defendants as they transacted business and


 made       contracts in the State of Indiana pursuant to Indiana Trial Rule 4.4(A),                   et.   seq.   Venue   in


 Marion County         is   appropriate as the parties have agreed that         all   disputes Will be resolved in   Marion

 County.


                                                            PARTIES

       5.    Williams       is   an individual   Who   resides in Indiana and at all times relevant hereto has         been

  an owner and shareholder 0f Ocean’s Promise,                      Inc.


       6.    Ocean’s Promise           is   a domestic for—proﬁt corporation, lawfully organized and existing


 under the laws 0f the State 0f Indiana, With                its   principal place of business located at 11200        Helm

 Drive, Suite 1012, Zionsville,               IN 46077.

       7.    EBX is    a limited liability company, lawfully organized and existing under the laws of the


 State      ofNew Jersey, with its principal place ofbusiness located at 650 East Palisade Avenue,                     Suite
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 2-201,      Englewood         Cliffs,   NJ   07632, and     at all   times relevant hereto has been an owner and


 shareholder 0f Ocean’s Promise, Inc.


       8.    Bland     is   an individual     Who upon    information and belief, resides in      New   York, and   at all


 times relevant hereto has been the sole owner and shareholder of EBX Enterprises,                       LLC.

                                                     FACTUAL BACKGROUND

       9.    In late 2019, Williams           began a business    selling sea   moss   gel (the   “Sea Moss Products”)


 under the brand name Ocean’s Promise. Williams sold the Sea Moss Products                             t0 various health


 foods stores in the Indianapolis area.


       10. In early     2020, Williams hired Bland to assist him With designing product labels, and setting


 up various       social    media and     retail   platforms for his   new business.

       11.   On March 3 1, 2020, Williams and Bland formally incorporated Ocean’s Promise, Inc.                     with


 the Indiana Secretary 0f State’s ofﬁce.               A true and correct copy 0f Ocean’s Promise, Inc. ’s business
 entity details      from the Indiana Secretary 0f State          is   attached hereto as Exhibit A.


       12.   On March 3 1       ,
                                    2020, a trademark application was submitted t0 the United States Patent and


 Trademark Ofﬁce (“USPTO”) 0n behalf 0f Ocean’s Promise,                                Inc.   (the   “Ocean’s Promise


 Trademark”).          A true and correct copy 0f the Ocean’s Promise Trademark details from the USPTO
 is   attached hereto as Exhibit B.


       13.   On   April 28, 2020, Williams and            EBX    entered into an   amended Shareholder Agreement

 governing their respective               interests, obligations, liabilities,    ownership and rights in Ocean’s


 Promise, Inc.          Bland, as the sole shareholder of             EBX, executed    the Shareholder   Agreement on

 EBX’S       behalf.    A true and correct copy of the amended Shareholder Agreement is attached hereto
 as Exhibit C.
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       14.   Williams and Bland operated the                 Company    throughout the spring and          summer 0f 2020,

 including securing additional customers and generating a proﬁt over this time frame.


       15. In the fall     of 2020, Williams and Bland encountered a material disagreement on                           how   to


 continue operating the Company.                     Despite settlement discussions in an attempt t0 resolve their


 dispute, Williams          and Bland could not come            to   an agreement, and ultimately agreed t0 dissolve


 the   Company and go            their separate      ways.


       16.   On August 3 1,       2020, following a special meeting 0f the shareholders, Williams and Bland


 entered into a Shareholder’s Resolution                 oprproval of Dissolution, thereby authorizing the formal

 dissolution 0f Ocean’s Promise, Inc. (the “Approval 0f Dissolution”).                           A true and correct copy 0f
 the Approval 0f Dissolution                is   attached hereto as Exhibit D.


       17.   On August      31, 2020, Ocean’s Promise, Inc. ﬁled               its   voluntary notice 0f dissolution (the


 “Notice 0f Dissolution) with the Indiana Secretary 0f State’s ofﬁce, with an effective date 0f


 September         1,   2020.    A   true   and correct copy 0f the Notice 0f Dissolution             is   attached hereto as


 Exhibit E.


       18.   Following the fonnal dissolution 0f Ocean’s Promise,                     Inc.,   Williams and Bland, with the


 assistance of their respective legal counsel,                  were    to   begin the Winding       down     process 0f the


 Company          as required under the Indiana Business Corporation                 Law.

       19.   To   this end,      Williams and Bland verbally agreed on the distribution of the Company’s


 assets   and     liabilities;   however, they were unable to come t0 agreement on the disposition 0f the

 Ocean’s Promise Trademark, which necessarily included the related websites and social media


 platforms which utilize the Ocean’s Promise Trademark in selling the Sea                           Moss    Products.


       20. Despite Williams           and Bland’s       inability t0 agree   0n the disposition 0f the Ocean’s Promise

 Trademark, Williams immediately became aware 0f Bland’s actions in continuing t0 leverage the
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  Oceans’ Promise Trademark for his             own beneﬁt. Bland took            steps to exert exclusive control over


  the Ocean’s Promise Trademark, including Ocean’s Promise’s retail websites and social                            media

  platforms,    which resulted        in Williams’ inability t0     have   Visibility into and/or exercise his right to


  access the   Company’s business information and related transactions.

      21. Furthermore, Plaintiffs recently         became aware          that   0n 0r about November   10, 2020,   Bland

  contacted the     USPTO       and submitted documentation                to   permanently change the Company’s


  address from the Indiana location to a location solely controlled and operated                          by Bland     in


  Englewood      Cliffs,   New Jersey.

      22.   Bland continues     t0 carry    0n business   in Violation     of the Indiana Business Corporation Law.


  Moreover, Bland has wrongfully taken steps               t0 convert the         Ocean’s Promise Trademark for the


  beneﬁt 0f     EBX    and/or his       own   personal beneﬁt, thereby generating proﬁts for              EBX,     to the


  detriment 0f Ocean’s Promise and Williams.


      23. Williams brings this action derivatively in the right 0f                    and for the beneﬁt 0f Ocean’s

  Promise     t0 redress the injures suffered,      and   t0   be suffered, by Ocean’s Promise as a direct result


  0f the Violations 0f state law, including breaches 0f ﬁduciary duty, self—dealing and conversion by


  EBX and Bland.

      24.   The wrongful       acts    complained of herein, subject and will continue            t0 subject,   Ocean’s


  Promise and Williams         to continuing    harm because        the adverse consequences 0fthe actions are       still



  in effect   and ongoing.


                                COUNT I: BREACH OF FIDUCIARY DUTY

      25. Plaintiffs incorporate rhetorical paragraphs              1   through 24 above as   if fully set forth herein.




      26.   By reason      0f their ﬁduciary relationship with Ocean’s Promise, the Defendants owed and


  owe Ocean’s Promise and Williams              the highest obligation 0f loyalty.


                                                                5
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      27. In derogation 0f these duties, the Defendants have                       harmed and continue         t0   harm     the


  Company by       improperly proﬁting from the Ocean’s Promise Trademark for the Defendants’ sole


  beneﬁt, thereby generating proﬁts for            EBX,      t0 the detriment     0f Ocean’s Promise and Williams.


      28.   As   a result 0f the Defendants’ breaches, Ocean’s Promise and Williams have suffered, and


  will continue t0 suffer signiﬁcant damages, as explained herein.                          Thus, the Defendants are liable


  to the   Company.


      29. Plaintiffs have        no adequate remedy          at law.




            WHEREFORE,            Plaintiffs request the       Court enter judgment for the Plaintiffs and against


  EBX Enterprises, LLC           and Elijah W. Bland, and award:


            a.   Actual damages in an amount to be determined                   at trial;



            b.   Reasonable attorney’s         fees;   and

            C.   The    costs in bringing this action.



                                              COUNT II: SELF DEALING

      30. Plaintiffs incorporate rhetorical paragraphs                 1   through 29 above as     if fully set forth herein.




      31.   The Defendants have violated the ﬁduciary                        duties of care, loyalty,      good     faith,   and

  independence owed          t0 the shareholders       0f Ocean’s Promise, and have acted t0 put their personal


  interests   ahead 0f the      interests   0f Ocean’s Promise’s shareholders, including Williams.


      32.   By    the   acts,   transactions,    and courses of conduct alleged herein, the Defendants,

  individually and acting as part 0f a          common plan,       are attempting to unfairly deprive the Plaintiffs


  0f the value inherent in and arising from the Ocean’s Promise Trademark.
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      33. Unless enjoined       by this Court,      the Defendants will continue t0 breach their ﬁduciary duties


  owed t0 the Plaintiffs,     including proﬁting from the Ocean’s Promise Trademark, thereby excluding


  the Plaintiffs    from   their fair share    0f Ocean’s Promise’s assets and operations, t0 the detriment 0f


  the Plaintiffs.



      34.   The Defendants        are   engaged        in self—dealing, are not acting in     good   faith   towards the


  Plaintiffs,    including     continuing t0 breach their ﬁduciary duties t0                   the   Ocean’s Promise


  shareholders.



            WHEREFORE,          Plaintiffs request the        Court enter judgment for the Plaintiffs and against


  EBX Enterprises, LLC         and   Elij ah   W.   Bland, and award:



            a.   Actual damages in an amount t0 be determined                at trial;



            b.   Reasonable attorney’s         fees;   and

            C.   The   costs in bringing this action.



                                           COUNT III: CONVERSION

      35. Plaintiffs incorporate rhetorical paragraphs              1   through 34 above as   if fully set forth herein.




      36. Defendants,        EBX   and Bland knew or should have known                   that they could not exert


  unauthorized control over the Ocean’s Promise Trademark t0 the detriment 0f the Plaintiffs.



      37. Williams has informed          EBX and Bland of their actions in exercising unauthorized control

  over the Ocean’s Promise Trademark, including advising Bland to cease his wrongful actions.



      38. Defendants,        EBX     and Bland refused, and continue              t0 convert the     Ocean’s Promise


  Trademark      for their   own personal beneﬁt to          the detriment 0f the   Company and Williams.
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     39. Plaintiffs   have not consented in any manner to the Defendants’ unauthorized use of the

  Ocean’s Promise Trademark


     40. Defendants,    EBX and Bland intended to deprive the Plaintiffs of their rights in the Ocean’s

  Promise Trademark in Violation 0f Ind. Code § 34-24-3-1.


     41. Plaintiffs   have been damaged as a      result   0f the deceptive act of the Defendants,   EBX and

  Bland, in exerting unauthorized control over the Ocean’s Promise Trademark for their                  own

  personal beneﬁt.



         WHEREFORE,         Plaintiffs request the     Court enter judgment for the Plaintiffs and against


  EBX Enterprises, LLC and Elijah W. Bland, and award:

         a.   Actual damages in an amount t0 be determined              at trial;



         b.   Treble damages pursuant to Indiana’s Crime Victim Relief Act;


         c.   Reasonable attorney’s    fees;    and

         d.   The   costs in bringing this action.



                                     DEMAND FOR JURY TRIAL
         Plaintiff hereby   demands a   trial   by jury 0n   all   issues s0 triable as 0f right.


                                                      Respectfully submitted,




                                                      éW-a
                                                      Jason D. May, Attorney No. 27434-49
                                                      Edward D. Thomas, Attorney No. 29080-49
                                                      9201 N. Meridian        Street, Suite   220
                                                      Indianapolis,     IN 46260
                                                      (317) 218-3859
                                                      iason.may@iasonmaylaw.com
                                                      edward.thomas@iasonmaylaw.com
                                                      Attorneysfor Plaintiﬂ
Case 1:21-cv-00353-JMS-DLP Document 1-1 Filed 02/12/21 Page 14 of 49 PageID #: 19




  STATE OF INDIANA                        )                         IN   THE MARION SUPERIOR COURT
                                          )SS:
  COUNTY OF MARION                        )                         CAUSE NO.

  DAVID A. WILLIAMS, JR., derivatively on
  behalf OCEAN’S PROMISE, INC.


                    Plaintiff,


          V.
                                                                           vvvvvvvvvvvv




  EBX ENTERPRISES, LLC,                  and
  ELIJAH W. BLAND


                    Defendants.


                                                       VERIFICATION

          I,   David Williams,        state that the   information contained in the attached Veriﬁed Shareholder


  Complaintfor Damages           is   based upon       my personal knowledge. T0 the best 0f my information and




                                                                     W
  belief, I    afﬁrm under the        penalties for perjury that the foregoing representations are true and


  accurate.




                 12/1 5/2020
          DATE                                                      Davidmliams
                                                                    CEO, Ocean’s Promise,   Inc.
12/2/2020   Case 1:21-cv-00353-JMS-DLP Document     1-1    Filed
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                                                                          Marion Superior Court, Civil Division 6                                            Marion County, Indiana
        f
                               (https://inbiz.in.gov)




   Business Details                                                                                                                               Print Entity Details


      Business            Name: OCEAN'S PROMISE, INC.                                     Business ID:   20200331 1382783

                     .
                                    _
                                        Domestic For-Profit                           .                  Voluntarily Dissolved
             Entity Type.                                                        Busmess             .

                                                                                               Status.
                                        Corporation                                                      (Name   Protected)

       Creation Date:                   03/31/2020                                  Inactive Date:       09/01/2020
                                        11200 Helm Drive, Suite
      Princi         al   Ofﬁce
                                        1012, Zionsville, IN,                    Expiration Date: Perpetual
                  pAddress_         '


                                        46077,      USA
             .       .    .                                                       Business Entity
       Jur'Sd'cmf‘
                         °f Indiana                                                       Report Due 03/31/2022
                 Formation.
                                                                                                Date:

                                                                                          Years Due:



   lncorporators Information

    Title                          Name                             Address

    Incorporator                   David     L   Williams JR.       11195 Helm     Drive, Suite 727, Zionsville, IN, 46077,       USA

    Incorporator                   Elijah    W Bland                650 East Palisade Avenue, Suite 2-201, Englewood              Cliffs,   NJ,   07632,   USA

       Page      1   of   1,   records   1   to 2 of 2




   Principal Information

    Title         Name                                        Address

    CEO           David        L   Williams JR.               11195 Helm   Drive, Suite 727, Zionsville, IN,   46077,   USA

    COO           Elijah       W Bland                        650 East Palisade Avenue, Suite 2—201, Englewood          Cliffs,   NJ, 07632,      USA

       Page      1   of   1,   records   1   to 2 of 2




  Registered Agent Information

                                    Type: Individual

                                   Name: David           L.   Williams,   Jr.


                               Address:          11200 Helm Drive, Suite 1012,               Zionsville, IN,   46077,   USA


                                                                                   Filing History            Name   History                 Assumed Name         History
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                                                                 Marion Superior Court, Civil Division 6                                 Marion County, Indiana
                  United States Patent and Trademark Office

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     TESS)




     Ocean's Promise
     Word Mark      OCEAN'S PROMISE
     Goods and      IC 005. US 006 018 O44 046     051 052. G & S: Acai powder dietary supplements; Activated charcoal dietary
     Services       supplements; Calcium supplements; Dietary supplement drink mixes; Dietary supplemental drinks; Dietary
                    supplements; Dietary supplements consisting primarily of sea moss; Dietary supplements for controlling cholesterol;
                    Dietary supplements for human consumption; Dietary supplements for humans and animals; Dietary supplements
                    with a cosmetic effect; Dietary and nutritional supplements; Dietary beverage supplements for human consumption
                    in liquid and dry mix form for therapeutic purposes; Dietary food supplements; Enzyme food supplements; Flaxseed

                    oil dietary supplements; Folic acid dietary supplements; Food supplements; Food supplements, namely, anti-

                    oxidants; Fungal extracts sold as a component ingredient of nutritional supplements and vitamins; Health food
                    supplements; Herbal supplements; Herbal supplements for sleeping problems; Homeopathic supplements; Linseed
                    oil dietary supplements; Liquid herbal supplements; Liquid nutritional supplement; Liquid protein supplements;

                    Liquid vitamin supplements; Mineral supplements; Mineral food supplements; Mineral nutritional supplements;
                    Natural supplements for treating depression and anxiety; Natural supplements for treating erectile dysfunction;
                    Natural dietary supplements; Natural herbal supplements; Nutritional supplement for eliminating toxins from the
                    body; Nutritional supplement for eliminating toxins from the intestinal tract; Nutritional supplement shakes;
                    Nutritional supplements; Nutritional supplements consisting primarily of sea moss; Nutritional supplements, namely,
                    probiotic compositions; Prebiotic supplements; Probiotic supplements; Protein supplement shakes; Protein
                    supplements; Vitamin supplements; Vitamin and mineral supplements; Weight management supplements. FIRST
                    USE: 20191001. FIRST USE              IN   COMMERCE: 20191004
 Standard
 Characters
 Claimed
     Mark
     Drawing        (4)   STANDARD CHARACTER MARK
 Code
 Serial
                    88854960
 Number
 Filing   Date      March 31, 2020
 Current
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tmsearch.uspto.gov/binlshowﬁeld?f=doc&state=4801 :2ht9ta.2.1                                                                                          1/2
12/2/2020Case 1:21-cv-00353-JMS-DLP Document    1-1
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                                                  Electronic    02/12/21
                                                             Search           Page 17 of 49 PageID #: 22
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  Original        1A
  Filing Basis

  Published
 for             July 28, 2020
  Opposition
  Registration
                 61 74727
  Number
  Regis‘ra‘i”
              October        13.   2020
  Date
 Owner           (REGISTRANT) Ocean's Promise,               Inc.   CORPORATION INDIANA Suite 1K                     1   West Forest Avenue Englewood   NEW
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                                  SHAREHOLDER AGREEMENT (AMENDMENT)

THIS     SHAREHOLDER AGREEMENT made this 28‘“ day of April,                                  2020, as an amendment to the
agreement made on the        3    13‘   of March, 2020,


BETWEEN:

                    David    L. Williams,       Jr.   of   1 1   195   Helm Drive #727      Zionsville,   IN 46077

                                                                                                             OF THE FIRST PART

                                                                        and


           EBX Enterprises, LLC of 650 East Palisade Avenue #2-201                           Englewood     Cliffs,   NJ 07632

                                                                                                          OF THE SECOND PART

                                                                        and

                 Ocean's Promise Inc. 0f           1 1   195     Helm Drive,     Suite 727, Zionsville,    IN 46077
                                                           (the "Corporation")


                                                                                                            OF THE THIRD PART

BACKGROUND:

   A. The Corporation        is   incorporated under the Indiana Business Corporation                     Law (the    "Act”).



    B.   The Shareholders have decided           t0 enter into this           agreement   (the   "Agreement")   to   govern their
         respective interests, obligations, liabilities, ownership and rights in the Corporation.



    C. A11 of the Shareholders have executed this Agreement.



   D. The Corporation has executed this Agreement for the purpose of acknowledging notice of this

         Agreement and      for the purpose of making certain representations.



IN CONSIDERATION              OF the premises and mutual covenants and agreements in this Agreement, the
sufﬁciency of which    is   hereby acknowledged, the parties agree as follows:




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         Interpretation


   1.   In this   Agreement

             a.   "Articles"    means   the Corporation's Articles of Incorporation or Articles of Amalgamation,

                   as the case    may be;


             b.   "Board" means the board of directors of the Corporation;



             c.   "Business Day" means a day other than a Saturday or Sunday or statutory holiday;



             d.   "By—laws" means the by-laws of the Corporation as 0f the date of this Agreement and as

                  may be amended from time to time;


             e.   "Financial Statements"           means the ﬁnancial statements of the Corporation, prepared                     in

                  accordance with generally accepted accounting principles;



             f.   "Party" or "Parties"       means    all    ofthe Shareholders and the Corporation;


             g.   "Share" or "Shares" refers to one or more shares in the capital of the Corporation;



             h.   "Shareholder" means any one of the Shareholders                 who     is   or later becomes a Shareholder in

                  the Corporation;



             i.   "Shareholders"     mean any two           or   more of the Shareholders who        are or later   become
                  Shareholders in the Corporation.



        Shareholder Agreement


  2.    This Agreement will govern the relationship of the Shareholders to the extent permitted                           by law.
        Where     this   Agreement requires         that   an act be done 0r a   state   of affairs be effected and that act           is

        done or    that state   of affairs   is   effected   by action of the Board, the requirement will be read              as

        requiring the Shareholders t0 do everything in their               power    to bring about that act or effect that state

        of affairs and not as requiring the Board t0 comply With                 this    Agreement. This Agreement           is   not




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         intended to restrict the Board's power to manage and supervise the Corporation, nor                              is it   intended
         to fetter the discretion     of any of the directors of the Board.


         Bx-laws and Articles


   3.   For the purposes of interpreting            this   Agreement and the Shareholders             rights   and obligations under
         this   Agreement, the By-laws Will be read as being subject to the provisions 0f this Agreement. The
         By-laws will not be amended or repealed except by written Agreement of all of the Shareholders.


   4.   For the purposes 0f interpreting            this   Agreement and the Shareholders            rights    and obligations under
         this   Agreement, the Articles will be read as being subject to the provisions of this Agreement. The
        Aﬁicles Will not be amended or repealed except by written Agreement of all of the Shareholders.



        Warranties


  5.    The Corporation warrants         that as      of the date of this Agreement,         all   issued and outstanding Shares

        are     owned as   follows:




                       Name                                Number 0f Shares                                    Class


         David L. Williams,       Jr.                                              500,000   Class   A (Voting)

         EBX Enterprises, LLC                                                      500,000   Class   A (Voting)



  6.    Each Shareholder warrants        that the Shareholder              is   the sole beneﬁcial   owner 0f the Shares identiﬁed
        as being    owned by    that Shareholder in this               Agreement.


  7.    The Corporation warrants        that   it   has the necessary corporate power and authority t0 enter into                      this

        Agreement and to perform         its   obligations under this Agreement.



  8.    Each Shareholder warrants        that   he or she         is   not prevented by reason 0f law or any other contractual

        agreement from entering into           this   Agreement.


  9.    Each corporate Shareholder warrants                that   it   has the necessary corporate power and authority to

        enter into this    Agreement and       to   perfonn       its   obligations hereunder.


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        Management        of the Corporation


  10.   The Shareholders agree             to exercise, as   soon as practicable, any and      all   voting rights attached to           all

         Shares    owned by them to          elect the following individuals as directors        of the Corporation unless the
        person that the Shareholders have agreed to elect                 is   unable or unwilling to act as a director:


        David L. Williams,           Jr.   and Elijah W. Bland


  11.   The Corporation        will not purchase,        redeem or acquire any Shares from any Shareholder except                        as

        provided in    this    Agreement and except          in    compliance With corporate solvency provisions and
        capital requirements          of the Act.


  12.   The Corporation        will not issue       any Shares aﬁer the date of this Agreement unless the Shares are
        issued in accordance with this              Agreement or With the       prior written approval of all of the

        Shareholders.



  13.   Shares will not be issued for other than             money     consideration, Without the prior written approval of

        the Shareholders.       Money includes          a debt   owing by the Corporation or a debt secured by a
        guarantee given by the Corporation.               Money does     not include a promissory note or other promise to

        PaY-



        Capital Reguirements of the Corgoration


 14. If the    Board determines            that the Corporation requires additional funds to          meet the Corporation's
        obligations to   its   creditors or to achieve the purpose for            which the Corporation was incorporated
        the Shareholders will provide the Corporation With an interest-free Shareholder loan (the "L0an")

        in   an amount that     is   sufﬁcient to enable the Corporation to meet such obligations 0r objectives, as

        the case   may be. Each        Shareholder will contribute to the Loan on a pro rata basis. The
        Shareholders    may exempt any              Shareholder from contributing to the Loan, but          if less   than   all   of the
        Shareholders contribute to the Loan, the Shareholders                   who   contribute to the   Loan Will be       entitled

        to interest at a reasonable          commercial    rate.




        Restrictions   on Transfer           01f   other Disposal of Interest




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  15.   Shareholders will not and Will not agree t0 directly or indirectly                sell,   assign, transfer, give, pledge,

         hypothecate or otherwise dispose of 0r in any other             way encumber any           Shares or any interest in
         any Shares and Will not       create   any security    interest in or grant   any option with respect       to   any
         Shares 0r any interest in any Shares, except in accordance with the express provisions 0f this

        Agreement or except With          the prior written approval of all of the Shareholders.



        Dispute Resolution


  16. In the   event a dispute arises between two or more Shareholders, the Shareholders will attempt to

        resolve the dispute through friendly consultation. If the dispute              is   not resolved within a reasonable
        period, then   any or   all   outstanding issues   may be      submitted to mediation in accordance with any
        statutory rules 0f mediation. If mediation         is   not successful in resolving the entire dispute or            is

        unavailable, any outstanding issues will be submitted t0 ﬁnal and binding arbitration in accordance

        With the laws of the State 0f Indiana. The         arbitrator's   award    will   be ﬁnal, and judgment        may be
        entered upon   it   by any court having jurisdiction within         the State of Indiana.



 17.    The dispute resolution process may be commenced by any of the Shareholders by                          the delivery of
        written notice (the "Notice of Dispute") to         all   other Shareholders.       The    notice will specify the

        dispute to be arbitrated, the issues of fact and law to be determined and the proposed arbitrator.



 18.    Any   Shareholder    may object to      a proposed mediator      and propose an       alternate   by delivering a
        written notice of objection t0      all   other Shareholders within 15 Business             Days 0f receiving the
        Notice of Dispute. A11 of the proposed mediators will jointly appoint a mediator. If the proposed

        mediators are unable to agree upon a mediator, any paIty to the dispute                     may   apply to the Court for
        the appointment of a mediator.



 19.   Any    Shareholder    may object to      a proposed arbitrator and propose an alternate by delivering a

        written notice of objection t0      all   other Shareholders within 15 Business             Days of receiving      the
        Notice of Dispute. A11 of the proposed arbitrators will jointly appoint an                   arbitrator. If the   proposed
        arbitrators are unable to agree      upon an    arbitrator,   any party   to the dispute      may apply to   the Court
        for the appointment     of an   arbitrator.



 20. If no Shareholder objects         by written notice    to the    proposed mediator 0r         arbitrator within 15

        Business Days of receiving the Notice of Dispute, the proposed mediator or arbitrator will be

        presumed acceptable.




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  21.   Every mediator and              arbitrator,   and   all   proposed mediators and         arbitrators will    be   at   arm's-length
         ﬁom every Party to this Agreement and will not have any interest in the dispute.

  22.   The mediator 0r          arbitrator Will, subject to applicable legislation, determine the procedure for

        hearing the dispute but will give written reasons for material ﬁndings of fact and a written

         decision.



  23.   The mediator or          arbitrator will determine the liability              among    the parties t0 the dispute for the cost

        0f the dispute resolution process and for the payment 0f the mediator or                              arbitrator.



        Shot       Gun   Provision


  24. If any of the Shareholders have a dispute (a "Material Dispute") regarding:


              a.   the   manner        in   which the   affairs   of the Corporation are to be conducted;


              b. the     business in which the Corporation should engage; 0r



              c.   any other matter where the disagreement                    is   of such a nature that   it is   likely to prejudice the

                    operations or proﬁtability of the Corporation



        and   if the   Material Dispute cannot be resolved Within a reasonable period or through the mediation

        and   arbitration provisions included in this                Agreement, then any Shareholder (the                 "Initiating

        Shareholder")       may initiate         a forced   buy or    sell   agreement (the "Shot      Gun Provision").

 25. If there are only        two Shareholders            to this   Agreement       at the   time this Shot   Gun Provision          is utilized,

        the Initiating Shareholder will give a written offer (the "Offer") to the other Shareholder (the

        "Offeree") specifying the price per Share (the "Price") at which the Initiating Shareholder                                    is   willing
        to:



              a. sell all   of the Shares owned by the Initiating Shareholder; or


              b.   purchase      all   of the Shares owned by the Offeree.


 26.   The Offeree       will,   within 15 Business Days of receiving the Offer, give notice to the Initiating

        Shareholder indicating that the Offeree has elected to either:




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                 a.   purchase the Initiating Shareholder's Shares       at the Price; 0r




                 b. sell the Offeree’s   Shares at the Price.



 27. If the Offeree does not respond t0 the Offer before 5 o'clock in the afternoon                          on the 15th Business
          Day    after the date   0n which the Offer was received, the Offeree             will    be deemed     to   have agreed         to

          sell   the Offeree's Shares to the Initiating Shareholder at the Price.



 28. If the Offeree elects to purchase the Initiating Shareholder's Shares, the Offeree will tender a

          certiﬁed check for the Price within 10 Business             Days of notifying       the Initiating Shareholder that

          the Offeree has elected to purchase the Initiating Shareholder's Shares, and the Initiating

          Shareholder will transfer or cause to be transferred to the Offeree                all   of the   Initiating Shareholder's

          Shares on receipt of the Price.



 29. If the Offeree elects or is         deemed to     elect to sell the Offeree's Shares to the Initiating Shareholder,

          the Initiating Shareholder will tender a certiﬁed check for the Price within 10 Business                          Days of
          either the date    on Which the      Initiating Shareholder receives notice that the Offeree has elected to

          sell   the Offeree's Shares or the date      on which the Offeree      is   deemed       to   have elected   to sell the

          Offeree's Shares to the Initiating Shareholder, and the Offeree will transfer or cause to be

          transferred to the Initiating Shareholder        all   of the Offeree's Shares on receipt of the Price.


 30. Failure to         make   a payment required by this Shot        Gun Provision        or failure to transfer the Shares as

          required     by this Shot Gun Provision will be deemed          t0   be a breach of contract and the non-
          defaulting party will, in addition to any other remedies available                by   statute 0r at   law or equity, be
          entitled t0    and may   elect to,   by written notice within 30 Business Days of the               default,   purchase the

          defaulting palty's Shares at         75% of the Price.

 3   1.   If there are   more than two Shareholders        to this   Agreement, the    Initiating Shareholder           may make          an

          Offer to one 0f the other Shareholders, and the procedure in this Shot                    Gun Provision Will        apply as
          if there    were only two Shareholders. The       Initiating Shareholder         may     also   make an offer to the       other

          Shareholders as a group, and the other Shareholders will either                  come    to   an agreement among
          themselves to buy the Initiating Shareholder's Shares or              will, as   a group, elect to     sell all   of their

          Shares to the Initiating Shareholder, and the procedure in this clause will apply.



          Right of First Refusal



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 32. Shareholders are prohibited         from    selling, transferring 0r     otherwise disposing of their Shares or any

       interest in their Shares unless:



            a.   the Shares are ﬁrst offered at not       more than Fair Market Value          to the   Shareholders of the

                 class   of Shares being sold on a pro      rata basis ("Offer One");        and


            b. the   Shares remaining after Offer         One   are offered to all other Shareholders        on an equal basis
                 ("Offer   Two")   for not less than the price speciﬁed in Offer            One and 0n terms    not more

                 favorable than those in Offer One.



 33.   The Shares remaining        after Offer   Two may be offered to        any person or     entity (the "Third Party

       Offer") for a period of 180 days from the date on              Which Offer Two was made           for not less than the

       price speciﬁed in Offer      Two and on terms not more           favorable than those in Offer One.



 34. Offer   One, Offer     Two    and the Third Party Offer (collectively and individually the "Offer") will be
       in writing    and will specify:


            a.   the price at which the Shares are offered;



            b. the date    by Which time      the Offer   must be accepted, which will be not           less than   10 Business

                 Days from    the date   on which the Offer      is   made;


            c.   the terms of the Offer; and



            d. the   closing date for the sale of the Shares,         which will be between 3O and 9O Business Days
                 ﬁom the date on which the Offer is accepted.

 35.   Any Offer not accepted within the time period             speciﬁed for accepting the Offer will be deemed to

       be declined.


       Tag-Along Provisions


 36. If a transaction involving the sale         of Shares t0 a person, ﬁrm, partnership, association, or other

       entity that   was not previously a Shareholder of the Corporation             (a "Third Party") Will result in the

       Third Party acquiring       50%   or   more of the Shares      in the Corporation, the selling Shareholder 0r

       Shareholders ("Selling Shareholder") will not be entitled to              sell the   Shares unless the Third Party

       offers the following options to each remaining Shareholder                ("Remaining Shareholder"):

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            a.   The Third Party will         offer to purchase        any Remaining Shareholder's Shares. This offer Will
                 remain open for a period of 90 days from the date on Which the Third Party ﬁrst acquires
                 Shares in the Corporation.



            b. If the     Remaining Shareholder          is selling     Shares of the same class and series as the Shares

                 purchased by‘the Third Party, the price will be the same.


            c.   If the   Remaining Shareholder          is   selling Shares   of a class or series other than the Shares
                 purchased by the Third Party, the price will be the Fair Market Value of the Shares. If the
                 Fair   Market Value of the Shares             is   unknown, the Third Party     will bear the cost     of
                 determining the Fair Market Value of the Shares.



            d.   The Third Patty will purchase           the    Remaining Shareholder's Shams on terms              that are

                 substantially similar to       and not       less favorable to the   Remaining Shareholder than those              in

                 the transaction between the Selling Shareholder and the Third Party.



       Dividends


 37. Subj ect to corporate      law solvency requirements and               to the extent permitted    by law and       after

       payment of any Shareholder loans and                   after establishing sufﬁcient reserves for the     normal
       operation of the Corporation's business activities and debt serving requirements,                      all   of the
       Corporation's proﬁts will be distributed               by way of dividend. Dividends        Will   be distributed
       annually.



       Conﬂict of ngortunities and Non-Competition


 38.   Each Shareholder agrees         that   any business opportunity         that   comes   to the attention of the

       Shareholder while the Shareholder            is   a Shareholder, director, ofﬁcer or employee of the

       Corporation and that      is   similar to or that relates t0 the current or anticipated business opportunities

       of the Corporation or that an'ses out the Shareholder's connection with the Corporation, belongs                                 to

       the Corporation.



 39.   Each Shareholder agrees         that while a Shareholder, director, ofﬁcer or             employee of the Corporation
       and for a period 0f 6 months           after ceasing to       be a Shareholder,   director, ofﬁcer or   employee of the
       Corporation, the Shareholder will not, solely or jointly with others:




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              a.    undertake, plan, organize or be involved in any                    way with any business            or any business

                    activity that     competes with the current or anticipated business of the Corporation in the
                    geographic area in which the Corporation carries on                      its   usual business; or



              b. divert      or attempt to divert from the Corporation any business the Corporation enjoyed,

                    solicited, or     attempted to    solicit   from   its   customers, prior to the Shareholder ceasing to be a

                    Shareholder.



 40.   Each Shareholder agrees            that for so long as the Shareholder is a Shareholder, director, ofﬁcer or

       employee of the Corporation, the Shareholder Will not engage or                                participate in     any other business
       activities that       conﬂict with the best interests of the Corporation.



       Non-Solicitation


 41.   Each Shareholder agrees            that While a Shareholder, director, ofﬁcer or                    employee of the Corporation
       and for a period of 6 months            after ceasing to        be a Shareholder,           director,   ofﬁcer or employee of the
       Corporation, the Shareholder will not in any way, directly or indirectly, induce any Shareholder,

       director,      ofﬁcer 0r employee of the Corporation to leave their position with the Corporation or to

       compete        in   any way With the Corporation and will not                   interfere With the Corporation's relationship

       With   its   other Shareholders, directors, ofﬁcers or employees. Such enticement or interference

       would be harmful and damaging                 to the Shareholders         and     to the Corporation.



       Notice of this Agreement on Share Certiﬁcates


 42.   Any and all         share certiﬁcates issued      by   the Corporation will have subscribed                    on them the following
       notice, 0r a notice in substantially the following form:

              0 The shares represented by      this certiﬁcate are subject to the provisions          of a shareholder agreement,     made   the

                    3 1st day of March, 2020, which restricts the right to     sell,   transfer or   encumber any shares    in the Corporation,

                    including the shares represented   by this   certiﬁcate. Notice     of the said agreement    is   hereby given.   A copy of
                    the said agreement   may be   obtained by sending a written request t0 the Board of Directors for the

                    Corporation.




       Effective Date         and Term

 43. This   Agreement          will   come   into effect   on the 3 lst day 0f March, 2020.


 44. This   Agreement          will remain in effect until the earliest of:


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              a.   the date speciﬁed in a wn'tten agreement, signed             by   all   of the Shareholders, terminating              this

                   Agreement; or


              b. the     bankruptcy, Winding-up or dissolution of the Corporation.



       Address for Notice


 45. Service of all notices under this           Agreement will be sufﬁcient            if delivered personally or       mailed

       certiﬁed, return receipt requested, postage prepaid, to the following addresses:

               o   David    L. Williams,   Jr.


                   11195 Helm Drive #727 Zionsville, IN 46077


               o   EBX Enterprises, LLC
                   650 East Palisade Avenue #2-201 Englewood                  Cliffs,   NJ 07632


               o Ocean's      Promise   Inc.

                   11195 Helm Drive, Suite 727, Zionsville, IN 46077


 46.   Any    Shareholder may, on written notice to          all   other Shareholders and the Corporation, change the

       Shareholder's address for notice under this Agreement. If the Corporation's registered address

       changes, the Corporation may, on written notice to               all   Shareholders, change         its   address for notice

       under   this      Agreement.


       Severabiligx


 47. If there is a conﬂict        between any provision of this Agreement and the Act, the Act                     Will prevail      and
       this   Agreement       will be   amended    in order to   comply With the Act.         Further,   any provisions required

       by the Act        are incorporated into this Agreement.



 48. If there      is   a conﬂict between any provision 0f this       Agreement and any form of Agreement
       prescribed        by the Act,   that prescribed   form will prevail and such provisions 0f the Agreement                     Will

       be amended or deleted as necessary in order to comply with that prescribed form. Further, any
       provisions that are required         by   that prescribed   form are incorporated           into this   Agreement.


 49. In the event that         any of the provisions of this Agreement are held              to   be invalid or unenforceable            in

       whole or         in part, those provisions to the extent enforceable          and   all   other provisions shall



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       nevertheless continue to be valid and enforceable as though the invalid or unenforceable parts had

       not been included in this Agreement and the remaining provisions had been executed                                 by the    Parties

       subsequent to the expungement of the invalid provision.



       General Provisions


 50. This     Agreement Will not be amended 0r modiﬁed except by                         the written agreement of all the

       Shareholders. A11 Shareholders, without the consent 0f the Corporation,                            may modify, amend or
       rescind this Agreement.



 51. This    Agreement       constitutes the entire        agreement between the Parties and supersedes any previous
       agreement or representation with respect to the matters                    set forth in this      Agreement, and there are
       no conditions, warranties, representations, agreements, express or implied,                            relating to such matters.



 52. This    Agreement will be construed                in accordance with and governed              by the laws of the     State   of
       Indiana.



 53.   Headings are inserted for the convenience of the Parties and for the purpose of interpreting                             this

       Agreement. Words in the singular mean and include the plural and Vice versa. Words in the
       masculine mean and include the feminine and vice versa. Words in the neuter mean and include the

       masculine and feminine and Vice versa.


 54. This    Agreement will inure             to the   beneﬁt of and be binding upon the respective              heirs, executors,

       administrators, successors             and assigns, as the case     may be,      of the     Parties.




 55. This    Agreement may be executed                 in counterparts. Facsimile signatures are binding              and are
       considered to be original signatures.



 56.   Time   is   of the essence in        this   Agreement.


 57.   The   Parties will    do   all acts    and things and execute      all   documents         that are reasonably necessary or

       advantageous to enforce          this       Agreement according     to   its   tenor and intent and each Party will bear

       that Party's    own   expenses in connection with the same.



 58. A11 dollar       amounts     in this   Agreement      refer to   US Dollars,     and   all   payments required    to   be paid
       under   this   Agreement      will     be paid in   US Dollars unless the Parties            agree otherwise.


                                                                                                                            Page 12 of 13
 Case 1:21-cv-00353-JMS-DLP Document 1-1 Filed 02/12/21 Page 30 of 49 PageID
                                                                       APPROVED #:
                                                                                AND35
                                                                                    FILED
                                                                                                              CONNIE LAWSON
                                                                                                          INDIANA SECRETARY OF STATE
                                                                                                             04/29/2020 10:53   AM

  59.   N0   Party will be liable in damages or have the right to terminate this Agreement for any delay or

        default in performance if such delay or default     is   caused by conditions beyond that Party's control
        including, but not limited t0 acts of God or     government    restrictions, wars, insurrections, natural

        disasters,   such as earthquakes, hurricanes or ﬂoods and/or any other cause beyond the reasonable

        control of the Party   whose performance   is   affected.



IN WITNESS       WHEREOF the Parties have executed this Agreement on this                 28‘1‘
                                                                                                  day of April, 2020.




                                                            David L. Williams,     Jr.   Shareholder




                                                           EBX Enterprises, LLQShareholder
                                                                           ._-— \‘

                                                                                                         (SEAL)

                                                           Elijah   W. Bland
                                                           Managing Member




                                                           Ocean's Promise Inc. Corporation




                                                           Per:                                         (SEAL)

                                                           David    L. Williams,   Jr.


                                                           President/CEO




                                                                                                             Page l3 of l3
Case 1:21-cv-00353-JMS-DLP Document 1-1 Filed 02/12/21 Page 31 of 49 PageID
                            49D06-2012-PL-044484                        Filed:#: 36
                                                                               12/17/2020 6:52 PM
                                                                                                                                                      Clerk
                                                 Marion Superior Court, Civil Division 6                                             Marion County, Indiana




                                                  SHAREHOLDERS' RESOLUTION 0F

                                                      APPROVAL 0F DISSOLUTION



             A Spatial meeting afﬁle shareholders of Ocean’s Promise.
                                                                                       Inc.        was held   at the cmporation's
             principal ofﬁces at    11195 Helm Drive, Suite 727, Zions
                                                                         ville, 1N 46077 and called to order
                                                                                                             at
             4:00    pm.   pursuant to notice or waiVer of notic
                                                                e; and a quorum being presenL the follo
                                                                                                                           wing
             resolutions    were adopted:


             RESOLVED.         that   Ocean’s Promisa, Inc. shall
                                                                  dissolve; and          it   is


            FURTHER RESOLVED, that the CEO ofthis Corp
                                                       oration          is hereby directed to ﬁle the
            necessary Certiﬁcate of DissolutiOn of
                                                   a Corporation in the appropriate state oﬂ'ice.


            I,    David L. Wﬂlian‘Is,    certify that   I   am the duly appointed CEO of Ocean's              Promise, Inc. and
            that tka   above resuluuuus         wuw uuuprecl by the Shareholdem and that such resolution
                                                                                                                       s are   now
            in full force   and   eﬁ-‘ect.



            l'N   WITNESS THEREOF, I certify by
                                                               my hand and the signatures of the shaz‘eholders of the
            Corporation that this      is    a true and correct copy.




                                                                                  08/31 12020
                                                                                  Date




EB   EBVd                                          33018 Sdn                           BZBVEEELLIE                SBILI    BEBZ/TSJ’SB
Case 1:21-cv-00353-JMS-DLP Document 1-1 Filed 02/12/21 Page 32 of 49 PageID
                            49D06-2012-PL-044484                        Filed:#: 37
                                                                               12/17/2020 6:52 PM
                                                                                                                                                         Clerk
                                                   Marion Superior Court, Civil Division 6                                              Marion County, Indiana




                                                        State of Indiana
                                           Office of the Secretary of State

                                                  Certificate of Dissolution
                                                                        of

                                           OCEAN'S PROMISE,                                     INC.

      l,    CONNIE LAWSON,               Secretary of State, hereby certify that Articles of Dissolution 0f the above

      Domestic           For—Profit Corporation    have been presented to        me   at   my       office,   accompanied by the fees
      prescribed by law and that the documentation presented conforms to law as prescribed by the

      provisions of the Indiana Code.




      NOW, THEREFORE,            with this    document   I   certify that said transaction will        become     effective Tuesday,

      September          01, 2020.




                                                                    WM
                                                                   In   Witness Whereof,        |    have caused to be affixed         my
                                                                  signature and the seal of the State of Indiana, at the City
           QtM
                o                                                 of Indianapolis, September 01, 2020.
            alt...



                ‘    .




      5E.”-



              .n'".




                                     ;




                         Mug                                      CONNIE LAwSON
                                                                  SECRETARY 0F STATE



                                                                                                        20200331 1382783 [8704969


                                Tn ensure the     certiﬁcate's validity, go to https:ffbs[1.505_in.gow’PUhlicBusinESSSearch
Case 1:21-cv-00353-JMS-DLP Document 1-1 Filed 02/12/21 Page 33 of 49 PageID #: 38


                                                                                                                      APPROVED AND FILED
                                                                                                                         CONNIE LAWSON
                                                                                                                   INDIANA SECRETARY OF STATE
                                                                                                              |:
                                                                                                                        09/01/2020 12:37   PM




 BUSINESS 1])                                                 2020033 1 1382783
 BUSINESS TYPE                                                Domestic For-Proﬁt Corporation
 BUSINESS NAME                                                OCEAN'S PROMISE,             INC.
 PRINCIPAL OFFICE ADDRESS                                     11200 Helm Drive, Suite 1012, Zionsville, IN, 46077,      USA
 CREATION DATE                                                03/3 1/2020




 EFFECTIVE DATE                                               09/01/2020
 EFFECTIVE TIME                                               1 1   :48AM




 MANNER OF ADOPTION AND VOTE

   Dissolution approved     by Vote of Shareholders True  :




         Shares entitled to vote   (total) 1000000
                                               :




         Shares voted in favor        :   1000000
         Shares voted against     :   0
         The   total   number of votes     cast for dissolution     was   sufﬁcient for approval   :   True




                                                                                                                                       -Pagelof2-
Case 1:21-cv-00353-JMS-DLP Document 1-1 Filed 02/12/21 Page 34 of 49 PageID #: 39


                                                                        APPROVED AND FILED
                                                                          CONNIE LAWSON
                                                                    INDIANA SECRETARY OF STATE
                                                                           09/01/2020 12:37            PM




 THE UNDERSIGNED OFFICER OF THIS CORPORATION DESIRES TO GIVE NOTICE OF CORPORATE ACTION
 EFFECTUATING THE DISSOLUTION OF THE CORPORATION PURSUANT TO THE PROVISIONS OF THE INDIANA BUSINESS
 CORPORATION LAW.
 INWITNESS WHEREOF, THE UNDERSIGNED HEREBY VERIFIES, SUBJECT TO THE PENALTIES 0F PERJURY, THAT THE
 STATEMENTS CONTAINED HEREIN ARE TRUE, THIS DAY September l, 2020.


 SIGNATURE                          Edward D. Thomas

 TITLE                              Legal Representative




                                                                              Business ID       :   20200331 1382783
                                                                              Filing   No   :       8704969




                                                                                                      -PageZof2-
Case 1:21-cv-00353-JMS-DLP Document 1-1
                            49D06-201    Filed 02/12/21 Page 35 of 49 PageID
                                      2-P|_-044484                             #: 40
                                                                          Filed: 12/1 7/2020 6:52 PM
                                                                                                                                        Clerk
                                               Marion Superior Court,    Civil Division   6                            Marion County, Indiana




  STATE OF INDIANA              )                             IN   THE MARION SUPERIOR COURT
                                )SS:
  COUNTY OF MARION              )                             CAUSE NO.

  DAVID A. WILLIAMS,          IR.,   derivatively 0n          )

  behalf OCEAN’S PROMISE, INC.                                )

                                                              )

                       Plaintiff,                             )

                                                              )

           V.                                                 )

                                                              )

  EBX ENTERPRISES,          LLC, and                          )

  ELIIAH W. BLAND                                             )

                                                              )

                       Defendants.                            )



                                       APPEARANCE BY ATTORNEY IN                    CIVIL CASE


  Party Classification:Initiating             X     Responding                Intervening


      1.   The undersigned attorney and all attorneys listed 0n this form now appear in this case                     for the
           following party member: David A. Williams, Ir.


      2.   Applicable attorney information for service as required by Trial Rule S(B) (2) and for case
           information as required by Trial Rules 3.1 and 77(B) is as follows:

           Name:                Iason D.     May                                              Attorney No. 27434-49
           Address:             9201    N.   Meridian Street                                  Phone: (317] 218-3859
                                Suite   220                                                   Fax: (888] 320-7409
                                Indianapolis. Indiana        46260                            iason.may@iasonmaylaw.com

           Name:                Edward D. Thomas                                              Attorney No. 29080-49
           Address:             9201 N. Meridian Street                                       Phone: {317] 218-3859
                                Suite   220                                                            320-7409
                                                                                              Fax: (888]
                                Indianapolis. Indiana        46260                            ethomas@iasonmaylaw.com

      3.   There are other party members: Yes                      No    X

      4.   If first   initiating party filing this case, the Clerk is        requested t0 assign this case the following Case
           Type under Administrative Rule 8(b) [3):                 CP

      5.   Iwill accept service        by FAX     at the   above noted number: Yes                   N0 X

      6.   This case involves support issues. Yes                        No     X

      7.   There are related cases: Yes                       No X
Case 1:21-cv-00353-JMS-DLP Document 1-1 Filed 02/12/21 Page 36 of 49 PageID #: 41



     8.   This form has been served on   all   other parties. Certificate of Service   is   attached:
          Yes           No    X

                                                    Respectfully submitted,


                                                    IASON   MAY LAW

                                                    /s/ lason D.   Mav
                                                    Iason D. May, Attorney N0. 27434-49
                                                    9201 N. Meridian Street, Suite 220
                                                                   46260
                                                    Indianapolis, IN
                                                    (317) 218-3859
                                                    jason.may@iasonmaylaw.com
                                                    Attorneysfor Plain tiﬁ’


                                                    /S/ Edward D. Thomas
                                                    Edward D. Thomas, Attorney No. 29080-49
                                                    9201 N. Meridian Street, Suite 220
                                                    Indianapolis, IN 46260
                                                    (317) 218-3859
                                                    ethomas@jasonmaylawxom
                                                    Attorneysfor Plain tiﬁ
Case 1:21-cv-00353-JMS-DLP Document 1-1
                            49006-201    Filed 02/12/21 Page 37 of 49 PageID
                                      2-p|_-o44434                        Filed:#: 42
                                                                                 12/17/2020 6:52 PM
                                                                                                                                                          Clerk
                                                   Marion Superior Court,    Civil Division   6                                          Marion County, Indiana



  STATE OF INDMNA                            )                                IN   THE MARION SUPERIOR COURT
                                             )SS:
  COUNTY OF MARION                           )                                CAUSE NO.

  DAVID A. WILLIAMS, JR, derivatively on                                      )
  behalf OCEAN’S PROMISE, INC.                                                )

                                                                              )

                       Plaintiff,                                             )

                                                                              )

            V-                                                                )

                                                                              )

  EBX ENTERPRISES, LLC, and                                                   )
  ELIJAH W. BLAND                                                             )

                                                                              )

                                                                              )

                       Defendants.                                            )




                                                             SUMMONS

  To:            W. Bland
            Elijah
            45 West 132ml Street, Apt 15N
            New York, New York 10037

            You are hereby          notified that      you have been sued by the persons and/or                              entity   named    as
  Plaintiff in the     Marion County Superior Court as indicated above.


            The nature of the          suit against       you   is   stated in the Complaint which                      is   attached to this
  Summons.       It   also states the relief sought or the           demand made          against you by the             Plaintiff.



            An answer or other appropriate response                       in writing t0 the       Complaint must be             filed either   by
  you or your attorney within twenty (20) days, commencing the day                                 afteryou receive this Summons,
  (or twenty-three (23) days           if   this   Summons was        received by mail),          or a judgment by default may be
  rendered against you        for the relief       demanded by Plaintiff.

            you have a claim
            If                          for relief against the Plaintiffs arising                     from the same transaction or
  occurrence, you must assert           it   in   your written answer.

  D ated:
            12/1 8/2020                                                       L;
                                                                                   ML             a        5.16;:   *
                                                                                                                        JG Ur
                                                                              Clerk”:   Marion County SuperﬁJr Court

  The following manner        of service of this       Summons            hereby designated:
  A
  _
        Registered or Certified Mail.
        Service at place of employment, to—wit
                                                                     is




  _
  _
        Service 0n individual (Personal or copy] at above address.
        Service on agent. (Specify)
  _     Other service (Specify)
Case 1:21-cv-00353-JMS-DLP Document 1-1 Filed 02/12/21 Page 38 of 49 PageID #: 43


  The   Plaintiff is   represented in this action by:
        JASON MAY LAW
        Jason D. May
        9201   N.   Meridian Street, Suite 220
        Indianapolis, Indiana     46260
        (317) 218-3859
Case 1:21-cv-00353-JMS-DLP Document 1-1 Filed 02/12/21 Page 39 of 49 PageID #: 44

                                           Clerk’s Certificate of Mailing


           I   hereby   certify that     on the   _    day of                      ,   2020,   I   mailed a copy 0f this
  Summons and a copy 0f the Complaint to the Defendant, Great Iones Indiana, LLC, c/o Eden M. South,
  Midwest Regional Manager, at 55 Monument Circle, Suite 923, Indianapolis, IN 46204 by certified
  mail, requesting a return receipt, at the address furnished          by the   Plaintiff.



           Dated:
                                                                  Clerk,   Marion County Superior Court



                                Return on Service of Summons by Certified Mail

           I   hereby   certify that the attached return receipt           was received by me showing           that the
  Summons and copy               0f the Complaint mailed t0 Defendant, Great Jones Indiana, LLC, c/o            Eden M.
  South,Midwest Regional Manager,
  accepted by the Defendant on the           _ at   55 Monument
                                                    day 0f
                                                                  Circle, Suite   923, Indianapolis, IN 46204,
                                                                                2020.
                                                                                                                   was



           I   hereby   certify that the attached return receipt  was received by me showing that the
  Summons and           a       copy of the Complaint was returned not accepted on the        day of
                            2020.


           I   hereby   certify that the attached return receipt           was received by me showing           that the
  Summons and       a copy of the Complaint mailed to Defendant, Great Jones Indiana, LLC, c/o                  Eden M.
  South,Midwest Regional Manager,
  accepted by
                            .   2020.
                                               at   55 Monument   Circle, Suite
                                                        0n behalf 0f said Defendant 0n the                _
                                                                                  923, Indianapolis, IN 46204,      was
                                                                                                                 day of




                                                                  Clerk,   Marion County Superior Court
Case 1:21-cv-00353-JMS-DLP Document 1-1
                            49006-201    Filed 02/12/21 Page 40 of 49 PageID
                                      2-p|_-o44434                        Filed:#: 45
                                                                                 12/17/2020 6:52 PM
                                                                                                                                                 Clerk
                                                 Marion Superior Court,   Civil Division   6                                    Marion County, Indiana



  STATE OF INDMNA                          )                              IN   THE MARION SUPERIOR COURT
                                           )SS:
  COUNTY OF MARION                         )                              CAUSE NO.

  DAVID A. WILLIAMS, JR, derivatively on                                  )
  behalf OCEAN’S PROMISE, INC.                                            )

                                                                          )

                       Plaintiff,                                         )

                                                                          )

               V-                                                         )

                                                                          )

  EBX ENTERPRISES, LLC, and                                               )
  ELIJAH W. BLAND                                                         )

                                                                          )

                                                                          )

                       Defendants.                                        )




                                                         SUMMONS
  To:          EBX              LLC
                     Enterprises,
               650 East Palisade Avenue
               Suite 2-201
               Englewood Cliffs, New Iersey 07632

               You are hereby   notified that you have been sued by the persons and/or entity named as
  Plaintiff in the     Marion County Superior Court as indicated above.


        The nature of the suit against you is stated in the Complaint which is attached                                        to this
  Summons. It also states the relief sought or the demand made against you by the Plaintiff.

            An answer or other appropriate response                  in writing to the         Complaint must be      filed either by
  you or your attorney within twenty (20) days, commencing the day                              after   you receive   this   Summons,
  (or twenty-three (23) days         if   this   Summons was      received by mail), or a judgment by default                  may be
  rendered against you for the        relief     demanded by Plaintiff.


            you have a claim for relief against the Plaintiffs arising from the same transaction or
               If

  occurrence, you must assert it in your written answer.


  Dated:
           1   2/1   8/2020                                               Lﬂ1qﬂ~               (L       [Qumk d
                                                                          Clerk?   Marion County Superf'ér Court



  The following manner        of service of this     Summons         hereby designated:
  A
  _
        Registered or Certified Mail.
        Service at place of employment, to—wit
                                                                is




  _
  _
        Service on individual (Personal or copy] at above address.
        Service on agent. (Specify)
  _     Other service (Specify)
Case 1:21-cv-00353-JMS-DLP Document 1-1 Filed 02/12/21 Page 41 of 49 PageID #: 46



  The   Plaintiff is   represented in this action by:
        IASON MAY LAW
        Iason D. May
        9201   N.   Meridian Street, Suite 220
        Indianapolis, Indiana     46260
        (317) 218-3859
Case 1:21-cv-00353-JMS-DLP Document 1-1 Filed 02/12/21 Page 42 of 49 PageID #: 47

                                           Clerk’s Certificate of Mailing


           I   hereby   certify that     on the   _    day of                      ,   2020,   I   mailed a copy 0f this
  Summons and a copy 0f the Complaint to the Defendant, Great Iones Indiana, LLC, c/o Eden M. South,
  Midwest Regional Manager, at 55 Monument Circle, Suite 923, Indianapolis, IN 46204 by certified
  mail, requesting a return receipt, at the address furnished          by the   Plaintiff.



           Dated:
                                                                  Clerk,   Marion County Superior Court



                                Return on Service of Summons by Certified Mail

           I   hereby   certify that the attached return receipt           was received by me showing           that the
  Summons and copy               0f the Complaint mailed t0 Defendant, Great Jones Indiana, LLC, c/o            Eden M.
  South,Midwest Regional Manager,
  accepted by the Defendant on the           _ at   55 Monument
                                                    day 0f
                                                                  Circle, Suite   923, Indianapolis, IN 46204,
                                                                                2020.
                                                                                                                   was



           I   hereby   certify that the attached return receipt  was received by me showing that the
  Summons and           a       copy of the Complaint was returned not accepted on the        day of
                            2020.


           I   hereby   certify that the attached return receipt           was received by me showing           that the
  Summons and       a copy of the Complaint mailed to Defendant, Great Jones Indiana, LLC, c/o                  Eden M.
  South,Midwest Regional Manager,
  accepted by
                            .   2020.
                                               at   55 Monument   Circle, Suite
                                                        0n behalf 0f said Defendant 0n the                _
                                                                                  923, Indianapolis, IN 46204,      was
                                                                                                                 day of




                                                                  Clerk,   Marion County Superior Court
Case 1:21-cv-00353-JMS-DLP Document 1-1 Filed 02/12/21 Page 43 of 49 PageID #: 48




                                    INDIANA COMMERCIAL COURT

  STATE OF INDIANA                   )                      IN   THE MARION SUPERIOR COURT
                                     )SS:
  COUNTY OF MARION                   )                      CAUSE NO.

  DAVID A. WILLIAMS, JR, derivatively on
  behalf OCEAN’S PROMISE, INC.


                  Plaintiff,
                                                                                       IDENTIFYING NOTICE
         v.
                                                                    Vvvvvvvvvvvv




  EBX ENTERPRISES, LLC, and
  ELIJAH W. BLAND


                  Defendants.



                          Notice Identifying Commercial Court Docket Case



         The undersigned       states that this case is   a Commercial Court Docket Case eligible for


  assignment to the Commercial Court Docket pursuant to Commercial Court Rule                            2.



         Pursuant to Rule 4 0f the Commercial Court Rules, the undersigned requests the Clerk of


  Court assign   this case to the   Commercial Court Docket.

                                                   Respectfully submitted,




                                                   éW-a
                                                   Jason D. May, Attorney No. 27434-49
                                                   Edward D. Thomas, Attorney N0. 29080-49
                                                   9201 N. Meridian                Street, Suite   220
                                                   Indianapolis,   IN 46260
                                                   (317) 218-3859
                                                   1'ason.mav@ias0nmavlaw.com
                                                   edward.th0mas@iasonmaylaw.com
                                                   Attorneysfor Plaintiffs
Case 1:21-cv-00353-JMS-DLP Document 1-1 Filed 02/12/21 Page 44 of 49 PageID  #:1/29/2021
                                                                         Filed: 49                                                       2:59 PM
                                                                                                                                            Clerk
                                                                                                                           Marion County, Indiana




  STATE 0F INDIANA                        )                                  1N   THE MARION SUPERIOR COURT
                                          )   ss:
  COUNTY 0F MARION                        )                                  CASE No.      49D06—2012—PL—044484




  DAVID L. WILLIAMS, JR., derivatively
  on behalf of OCEAN’S PROMISE, INC.,

                        Plaintiff,


           V.                                               vvvvvvvvvvv




  EBX ENTERPRISES, LLC and
  ELIJAH W. BLAND,

                        Defendants.



                        E-FILING APPEARANCE BY ATTORNEY IN CIVIL CASE


  This Appearance              Form must be     ﬁled on behalf of every party in a                   civil case.


  1.   The party on Whose behalf this form            is   being ﬁled          is:

       Initiating                    Responding       X                   Intervening            ;
                                                                                                     and the undersigned
       attorney and       all                  0n
                                attorneys listed    this   form now appear              in this case for the following parties:


       Name         ofparty:    EBX ENTERPRISES, LLC                        and   ELIJAH W. BLAND
       Address 0f party (see Question # 5 below ifthis case involves a protection from abuse order,
       a workplace violence restraining order, 0r a no-contact order)



       Telephone number of party:
       (List   0n a continuation page additionalparties                     this attorney represents in this case.)



       Attorney information for service as required by Trial Rule 5(B)(2):


       Eric  McKeown, Attorney N0. 27597-49
               J.

       ICE MILLER LLP
       One American Square
       Suite    2900
       Indianapolis,      IN 46282-0200
       (317) 236-2124 (telephone)
       (317) 592-4228 (facsimile)
       Eric.McKeown@icemiller.com
Case 1:21-cv-00353-JMS-DLP Document 1-1 Filed 02/12/21 Page 45 of 49 PageID #: 50




          IMPORTANT:               Each attorney speciﬁed on          this appearance:

          (a) certiﬁes that the       contact information listed for him/her 0n the Indiana              Supreme Court
                R011 of Attorneys      is   current and accurate as 0f the date 0f this Appearance;
          (b)   acknowledges that           all   orders, opinions,     and   notices   from the Court   in this matter
                that are served under Trial Rule 86(G) Will be sent to the attorney at the e-mail
                address(es) speciﬁed by the attorney 0n the Roll of Attorneys regardless 0f the
                contact information listed above for the attorney; and
          (c)   understands that he/she            is   solely responsible for keeping his/her R011 0f Attorneys
                contact information current and accurate, see Ind. Admis. Disc. R. 2(A).
          Attorneys can review and update their R011 of Attorneys contact information on the Courts
          Portal at http://p0rta1.courts.in.gov.


     3.   This   is   a       PL    case type as deﬁned in administrative Rule 8(B)(3).


     4.   This case involves child suppoﬁ issues. Yes                         N0    X     (Ifyes, supply social security
          numbers for allfamily members 0n a separately attached documentﬁled as conﬁdential
          information 0n light green paper. Use Form TCM-TR3.I-4.)


     5.

                               Yes
          or a no-contact order.           N0                 i
          This case involves a protection from abuse order, a workplace violence restraining order,
                                                      (If Yes, the initiating party must provide an
          addressfor thepurpose oflegal service but that address should not be one that exposes the
          whereabouts ofa petitioner.) The party shall use the following address for purposes of
          legal service:
                                   Attorney’s address
                                   The Attorney General Conﬁdentiality program address
                                   (contact the Attorney General at 1-800-321-1907 or e-mail address                is

                                   confidential@atg.in.gov)
                                   Another address (provide)



     This case involves a petition for involuntary commitment. Yes                               N0 X

     6.   If   Yes above, provide           the following regarding the individual subject t0 the petition for
          involuntary commitment:


          a.    Name   0f the individual subject t0 the petition for involuntary commitment                  if   it is   not
                already provided in #1 above:


          b.    State of Residence      0f person subject t0         petition:


          c.    At    leastone of the following pieces of identifying information:
                 (i)      Date of Birth
                 (ii)     Driver’s License         Number
                          State    where issued                               Expiration date
                 (iii)    State    ID number
                 (iv)     FBI number
                 (V)      Indiana Department of Corrections             Number


                                                               -2-
Case 1:21-cv-00353-JMS-DLP Document 1-1 Filed 02/12/21 Page 46 of 49 PageID #: 51




                 (Vi)    Social Security   Number       is    available    and   is   being provided in an attached
                         conﬁdential document Yes                     No

     7.    There are related cases: Yes    _      No      X      (Ifyes, list    0n continuation page.)


     8.    Additional information required        by   local rule:


     9.    There are other party members: Yes          _ No                (Ifyes, list   0n continuation page.)

     10.   This form has been served on     all   other parties and Certiﬁcate 0f Service           is   attached:
           Yes   l _    No


                                                        /s/   Eric   J.   McKeown
                                                        Eric   J.   McKeown, Attorney No. 27597-49
                                                        ICE MILLER LLP
                                                        One American Square
                                                        Suite   2900
                                                        Indianapolis,       IN 46282-0200
                                                        (317) 236-2124
                                                        Eric.McKeown@icemiller.c0m

                                                        Attorney for Defendants
                                                        EBX Enterprises, LLC and Elijah W.               Bland
Case 1:21-cv-00353-JMS-DLP Document 1-1 Filed 02/12/21 Page 47 of 49 PageID #: 52




                                         CERTIFICATE OF SERVICE


         I   certify that   on January   29, 2021,   I   electronically ﬁled the foregoing   document using the

  Indiana E-Filing System (IEFS).


         I   also certify that   on January 29, 2021, the foregoing document was served upon the

  following person(s) Via IEFS.


                                          Jason D.   May
                                          Edward D. Thomas
                                          JASON MAY LAW
                                          9201 N. Meridian Street
                                          Suite   220
                                                     IN 46260
                                          Indianapolis,
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                                                         /s/   EricMcKeown
                                                                      J.

                                                         Eric J. McKeown
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Case 1:21-cv-00353-JMS-DLP Document 1-1 Filed 02/12/21 Page 48 of 49 PageIDFiled:
                                                                              #: 53
                                                                                  2/1/2021                                                     5:09 PM
                                                                                                                                                  Clerk
                                                                                                                                 Marion County, Indiana




  STATE OF INDIANA                         )                                        IN                          FI
                                                                                         THE MARION SUPERIOR COURT                   LED
                                                                                                                                February 2, 2021
                                           )   SS:
                                                                                                                              CLERK OF THE COURT
  COUNTY OF MARION                         )                                        CASE NO.     49D06-2012-PL-044484 MARION COUNTY
                                                                                                                                             MF




  DAVID L. WILLIAMS, JR., derivatively
  on behalf of OCEAN’S PROMISE, INC.,

                   Plaintiff,
                                                                                                  GRANTED
                                                                                                February 2, 2021
         V.                                                    vvvvvvvvvvv




  EBX ENTERPRISES, LLC and                                                                                       MF
  ELIJAH W. BLAND,

                   Defendants.



                     NOTICE OF AUTOMATIC ENLARGEMENT OF TIME
                        TO RESPOND TO PLAINTIFF’S COMPLAINT


         Defendants,      EBX        Enterprises,     LLC            and Elijah W. Bland, by counsel and pursuant                    t0


  Indiana Trial Rule 6(B) and Marion County Local Rule 49-TR5-203(D),                                        moves    the Court for an


  automatic enlargement 0f time t0 and including March                                     8,   2021 to respond      to the   “Veriﬁed


  Shareholder Complaint for Damages” (“Complaint”) ﬁled by Plaintiff, David L. Williams,                                            Jr.,



  derivatively   on behalf 0f Ocean’s Promise,               Inc.             In support 0f their motion, Defendants state:


          1.       Said response          is   currently due             on 0r before February       5,   2021 and said time has not


  yet expired.


         2.        This   is    Defendants’ ﬁrst request for an enlargement 0f time t0 respond t0


  Plaintiff s Complaint,       and   is   t0   be automatically allowed pursuant t0                   LR 49-TR5-203(D).

         3.        This enlargement 0f time             is   necessary for the reason that undersigned counsel has


  not had adequate time to study Plaintiff s Complaint, confer with his clients, and conduct


  preliminary studies and investigation in order t0 intelligently respond t0 the Complaint.


         4.        This enlargement of time             is   not             made   for the purpose of delay.
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           WHEREFORE,            Defendants         move     the Court for an automatic enlargement of time to and


  including     March   8,    2021   t0   respond to Plaintiff s Complaint, and request               all   other necessary and


  proper   relief.



                                                                  Respectfully submitted,


                                                                  /s/   Eric   J.   McKeown
                                                                  Eric   J.   McKeown, Attorney No. 27597-49
                                                                  ICE MILLER LLP
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                                                                  (317) 236-2124
                                                                  Eric.McKeown@icemiller.com

                                                                  Attorney for Defendants
                                                                  EBX Enterprises, LLC and Elijah W.            Bland



                                             CERTIFICATE OF SERVICE


           I   certify that   0n February      1,   2021,    I   electronically ﬁled the foregoing          document using the

  Indiana E-Filing System (IEFS).


           I   also certify that      on February       1,       2021, the foregoing document was served upon the


  following person(s) Via IEFS.


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                                                                  /s/    J. McKeown
                                                                        Eric
                                                                  Eric  McKeown
                                                                         J.

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